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                       IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                          MEMORANDUM DECISION AND
                                                   ORDER GRANTING DEFENDANT’S
                      Plaintiff,                   MOTION FOR EARLY TERMINATION
                                                   OF SUPERVISED RELEASE
v.

MICHAEL DAVID ODOM,

                      Defendant.                   Case No. 2:14-CR-532 TS

                                                   District Judge Ted Stewart

        This matter is before the Court on Defendant’s Motion for Early Termination of

Supervised Release. For the reasons discussed below, the Court will grant the Motion.

                                        I. BACKGROUND

        On October 17, 2014, Defendant was charged with possessing, passing, and attempting to

pass counterfeit currency. On April 7, 2015, Defendant was sentenced to a term of 18 months in

the custody of the Bureau of Prisons, to be followed by 36 months of supervised release.

        Defendant began his term of supervision on September 7, 2016. In his Motion,

Defendant represents that he has complied with the terms of his supervised release. Defendant

states that he has maintained gainful employment and has not engaged in any criminal behavior.

Defendant seeks termination of his supervision to allow him to pursue certain employment

opportunities that are unavailable to him while on supervised release. Consultation with

Defendant’s supervising officer confirms that Defendant has complied with the terms of

supervision. The government has indicated it has no objection to Defendant’s request.




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                                         II. DISCUSSION

       18 U.S.C. § 3583(e) permits the Court to terminate supervised release at any time after a

defendant has completed at least one year of supervised release, but prior to completion of the

entire term, if the Court is satisfied that such action is (1) warranted by the conduct of an

offender and (2) is in the interest of justice. In making this determination, the Court is directed

to consider the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.

       Having considered these factors, reviewed the docket and case file, and consulted with

Defendant’s supervising officer, the Court finds that early termination of Defendant’s term of

supervised release is both warranted by the conduct of the offender and in the interest of justice.

                                        III. CONCLUSION

       It is therefore

       ORDERED that Defendant’s Motion for Early Termination of Supervised Release

(Docket No. 77) is GRANTED. It is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

immediately and this case shall be closed.

       DATED this 18th day of October, 2017.

                                               BY THE COURT:



                                               Ted Stewart
                                               United States District Judge




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